                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

GREGORY D. DOUGLAS,                 )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )     NO. 1:18-cv-00015
                                    )
DAMON HININGER, et al.,             )     Judge Campbell
                                    )     Magistrate Judge Frensley
      Defendants.                   )
______________________________________________________________________________

                DEFENDANTS’ PROPOSED JURY VERDICT FORM
______________________________________________________________________________

Question 1: Do you find that the Plaintiff has proven by a preponderance of the evidence that
either Defendant used excessive force against him which resulted in Plaintiff enduring cruel and
unusual punishment?

       Yes     _____          No      ______

If you answer “No” to Question 1, you do not need to answer Questions 2 through 7. Please have
the foreperson sign the form and return it to the Court.



If you answer “Yes” to Question 1, please proceed to Questions 2 through 5.

Question 2: Do you find that either of the Defendants violated Plaintiff’s Constitutional rights by
using excessive force against him which resulted in Plaintiff enduring cruel and unusual
punishment? Please indicate next to each of the following individuals’ name.

       Brandon Bowers                 Yes:     ____         No:     ____
       Doreen Trafton                 Yes:     ____         No:     ____

Question 3: Do you find that Plaintiff is entitled to either nominal or compensatory damages?
Please note: You cannot award both nominal and compensatory damages.

       Nominal:        ____           Compensatory:         ____




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Question 4: If so, what amount of damages do you find Plaintiff suffered?
Please Note: You cannot award both nominal and compensatory damages

       Nominal: $___________________              Compensatory: $_______________

Question 5: How do you apportion any damages amongst the Defendants:
       Brandon Bowers         $____________
       Doreen Trafton         $____________




Sign the form and return it to the Court.

SO SAY WE ALL.

_____________________________________
Foreperson

Dated: _____________________




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                                         Respectfully submitted,

                                         PENTECOST, GLENN & MAULDIN, PLLC

                                 By:     s/J. Austin Stokes
                                         James I. Pentecost (#11640)
                                         J. Austin Stokes (#31308)
                                         Attorneys for Defendants
                                         162 Murray Guard Drive, Suite B
                                         Jackson, Tennessee 38305
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                                         (731) 668-7163 - Fax

                              CERTIFICATE OF CONSULTATION

         To date, the undersigned has not received any communications from Plaintiff concerning
the pretrial filings referenced/mandated within this Court’s Order. (Document 71). On December
30, 2021, the undersigned attempted to schedule a telephone call with Plaintiff at his current
facility, Northeast Correctional Complex (“NECX”), located in Mountain City, Tennessee. Due to
Plaintiff’s current place of confinement, an in-person meeting between the undersigned and
Plaintiff is not practicable. The undersigned has been informed that the individuals that facilitate
such communications at said facility are unavailable until Tuesday, January 4, 2022.

                                                 By:      s/J. Austin Stokes
                                                          J. Austin Stokes


                                 CERTIFICATE OF SERVICE

       This is to certify that I served a copy of this pleading or papers by U.S. mail, first-class, postage
prepaid, upon:

        Gregory Douglas, #458144
        Northeast Correctional Complex
        5249 Hwy. 67 West
        Mountain City, TN 37683

This the 3rd day of January, 2022.

                                                 By:      s/J. Austin Stokes
                                                          J. Austin Stokes




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